   Case 5:21-cr-00300-LCB-HNJ Document 2 Filed 09/27/21 Page 1 of 3                                                                                       FILED
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                                                                                                                                                 U.S. DISTRICT COURT
                                                                                                                                                     N.D. OF ALABAMA



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                             ·""UNITED STATES DISTRICT COURT
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  UNITE~_r$.TA1iESOF '.AMERICA

        v.

 LONNIE LEROY COFFMAN


     CONSENT TO TRANSFER OF CASE FOR PLEA AND SENTENCE
                PURSUANT TO FED. R. CRIM. P. 20

I, Lonnie Coffinan, the defendant, have been informed than an Information is or

will shortly be pending against me in the above designated case. I wish to plead

guilty to the offense charged, to consent to the disposition of the case in the District

of Columbia, in which I, Lonnie Coffinan, am held, and to waive trial in the above

captioned District.

                                                                                                       Dated:   September t..t-, 2021



                                                                                                                Defendant Lonnie Leroy Coffman



                                                                                                                Witness




                                                                                                                                        --------~----
     Case 5:21-cr-00300-LCB-HNJ Document 2 Filed 09/27/21 Page 2 of 3




                                        /s/ Henry Cornelius
                                        Henry Cornelius
                                        Assistant United States Attorney

                                Approved



Channing D. Phillips                          Prim F. Escalona
United States Attorney                        United States Attorney
District of Columbia                          Northern District of Alabama
           Case 5:21-cr-00300-LCB-HNJ Document 2 Filed 09/27/21 Page 3 of 3




                              UNITED STATES DISTRICT COURT
                                  Northern District of Alabama
                                       Office of the Clerk
                                Room 140, 1729 5th Avenue North
                                  Birmingham, Alabama 35203
                                        (205) 278-1700

Sharon N. Harris, Clerk




September 27, 2021


TO:       Clerk, U.S. District Court
          United States District Court
          District of Columbia
          333 Constitution Avenue N.W., Room 1225
          Washington D.C. 20001

                                                       RE:     USA v. Lonnie Leroy Coffman
                                                               Our Case No. 5:21-cr-300-LCB-HNJ

Dear Sir/Madam:

       Pursuant to provisions of Rule 20, Federal Rules of Criminal Procedure, I am transmitting
Consent to Transfer of Case for Plea and Sentence and copies of the pleadings in the above-styled
case, which I hereby certify to be true copies of the originals on file in this office.

          Please acknowledge receipt on the enclosed copy of this letter.


                                                       Sincerely,

                                                       SHARON N. HARRIS, CLERK



                                                       By:   Isl
                                                               ~~~~~~~~~~~-




                                                             K. Bowman, Deputy Clerk

Enclosures
